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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 24-3169                                                September Term, 2024
                                                                      1:21-cr-00190-DLF-1
                                                       Filed On: April 14, 2025
United States of America,

              Appellee

       v.

Zachary Jordan Alam,

              Appellant


       BEFORE:       Pillard, Katsas, and Rao, Circuit Judges

                                        ORDER

       Upon consideration of the unopposed motion to vacate convictions and remand
for dismissal, it is

      ORDERED that the judgment of the district court be vacated and the case be
remanded with instructions to dismiss the case as moot. See United States v. Schaffer,
240 F.3d 35, 37–38 (D.C. Cir. 2001) (en banc).

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to issue the mandate forthwith to the district court.


                                       Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Selena R. Gancasz
                                                         Deputy Clerk
